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The following constitutes the ruling of the court and has the force and effect therein described.


Signed August 25, 2022
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________


BTXN 210 (rev. 05/16)
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
Larry E. Cox                                                §    Case No.: 18−40274−mxm13
                                                            §    Chapter No.: 13
                                          Debtor(s)         §


        ORDER DENYING APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS
    The Court finds that Larry E. Cox filed an Application for Payment of Unclaimed Funds on 08/22/2022 in the
amount of $3,850.00.

      The Court, after review of the application, finds:

     no funds are on record for the claimant
     no documents of proof are provided with the application
     insufficient documentation has been provided with the application
     required Form AO 213 not provided with the application
     the application was not served on the US Attorney
     Other: 1) Application is a photocopy. Original application with wet ink
     signature signed in the presence of a notary public is required.
     2) Form AO 213 is not signed and dated.


      It is therefore ORDERED that the Application for Payment of Unclaimed Funds is denied without prejudice.

                                                 # # # End of Order # # #
